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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION


 UNITED STATES OF AMERICA                          CRIMINAL NO. 17-cr-00113-01

 VERSUS                                            JUDGE HICKS

 WILLIAM HARRY DISHINGER                           MAGISTRATE JUDGE HORNSBY



                         REPORT AND RECOMMENDATION

        Upon the request of the District Judge, and with the written and oral consent of

 Defendant, this matter came before the undersigned U.S. Magistrate Judge on September 14,

 2017, for administration of a felony guilty plea under Rule 11 of the Federal Rules of

 Criminal Procedure. Defendant was present with counsel, John Nickelson.

        After the hearing, it is the finding of the undersigned that: (1) Defendant is fully

 competent to enter this guilty plea; (2) the plea agreement was properly signed and filed; (3)

 Defendant’s guilty plea to Count 1 of the Indictment was freely and voluntarily entered, with

 a full understanding of the nature of the charge and the maximum penalties; (4) Defendant

 made a knowing and voluntary waiver of the right to a jury trial with the full assistance of

 counsel; (5) the guilty plea is fully supported by the factual basis for each of the essential

 elements of the offense; and (6) the plea agreement represents the entire agreement between

 the parties; there are no side agreements between the parties. Both the Government and

 Defendant waived their right to object to this Report and Recommendation. Accordingly,
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         IT IS RECOMMENDED that the District Judge accept the guilty plea of Defendant

 in accordance with the terms of the plea agreement filed in the record of these proceedings,

 and that Defendant be adjudged guilty of the offense charged in Count 1 of the Indictment.

         IT IS FURTHER RECOMMENDED that, pursuant to the parties’ waiver of their

 right to object, that the District Judge immediately adopt this Report and Recommendation

 without passage of the customary delays.

         THUS DONE AND SIGNED in Shreveport, Louisiana, this 14th day of September,

 2017.




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